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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   GAINESVILLE DIVISION

In re:                                                         Case No. G19-20483-JRS
         SEBREN WENDELL PERRY

                     Debtor(s)


          STANDING CHAPTER 13 TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as follows:


         1) The case was filed on 03/12/2019.

         2) The plan was confirmed on 08/29/2019.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
11/13/2020.

         5) The case was completed on 04/12/2022.

         6) Number of months from filing to last payment: 37.

         7) Number of months case was pending: 40.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $18,310.00.

         10) Amount of unsecured claims discharged without payment: $26,180.80.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor              $11,952.00
           Less amount refunded to debtor                           $792.00

NET RECEIPTS:                                                                                   $11,160.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $5,000.00
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                          $712.09
    Other                                                                      $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,712.09

Attorney fees paid and disclosed by debtor:                        $0.00


Scheduled Creditors:
Creditor                                            Claim       Claim          Claim      Principal     Int.
Name                                  Class       Scheduled    Asserted       Allowed       Paid        Paid
CIT Y OF COVINGT ON UT ILIT IES Unsecured                NA       422.20         422.20        31.54      0.00
INT ERNAL REVENUE SERVICE       Priority           10,000.00    2,015.96       2,015.96     2,015.96      0.00
INT ERNAL REVENUE SERVICE       Unsecured                NA       864.47         864.47        64.55      0.00
PORT FOLIO RECOVERY ASSOCIAT ESUnsecured
                                 LLC                  252.00      251.56         251.56        18.78      0.00
PRA RECEIVBALES MANAGEMENT , LLCUnsecured           1,583.00    2,018.33       2,018.33       150.71      0.00
SPRINGLEAF FINANCIAL S          Unsecured               0.00         NA             NA          0.00      0.00
ST AT E OF MCHIGAN              Unsecured           3,475.00         NA             NA          0.00      0.00
AUT OVEST , LLC                 Unsecured          13,002.58         NA             NA          0.00      0.00
US DEPT OF ED/GSL/AT L          Unsecured          11,721.00         NA             NA          0.00      0.00
PROGRESS RESIDENT IAL           Unsecured               0.00         NA             NA          0.00      0.00
GEORGIA DEPART MENT OF REVENUE  Priority                0.00         NA             NA          0.00      0.00
CAPIT AL ONE BANK USA N         Unsecured              22.00         NA             NA          0.00      0.00
CREDIT COLLECT ION SERV         Unsecured             155.00         NA             NA          0.00      0.00
CREDIT PROT ECT ION ASSO        Unsecured             152.00         NA             NA          0.00      0.00
DEPT OF EDUCAT ION/NELN         Unsecured               0.00         NA             NA          0.00      0.00
DEPT OF EDUCAT ION/NELN         Unsecured               0.00         NA             NA          0.00      0.00
U.S. DEPART MENT OF EDUCAT ION Unsecured           24,054.00   35,830.57      35,830.57     2,675.48      0.00
UNIT ED AUT O CREDIT CORPORAT ION
                                Unsecured           6,807.00    6,574.13       6,574.13       490.89      0.00




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 Summary of Disbursements to Creditors:
                                                                   Claim        Principal         Interest
                                                                Allowed             Paid             Paid
 Secured Payments:
       Mortgage Ongoing                                            $0.00             $0.00         $0.00
       Mortgage Arrearage                                          $0.00             $0.00         $0.00
       Debt Secured by Vehicle                                     $0.00             $0.00         $0.00
       All Other Secured                                           $0.00             $0.00         $0.00
 TOTAL SECURED:                                                    $0.00             $0.00         $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                               $0.00            $0.00           $0.00
         Domestic Support Ongoing                                 $0.00            $0.00           $0.00
         All Other Priority                                   $2,015.96        $2,015.96           $0.00
 TOTAL PRIORITY:                                              $2,015.96        $2,015.96           $0.00

 GENERAL UNSECURED PAYMENTS:                                 $45,961.26        $3,431.95           $0.00

 Disbursements:

          Expenses of Administration                               $5,712.09
          Disbursements to Creditors                               $5,447.91

 TOTAL DISBURSEMENTS :                                                                       $11,160.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 07/19/2022
                                                    By: /s/ Nancy Whaley
                                                                           Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                     CERTIFICATE OF SERVICE


Case No. G19-20483-JRS


I certify that on this day I caused a copy of this Trustee's Final Report to be served via United States
First Class Mail with adequate postage prepaid on the following parties at the address shown for each:


Debtor(s):
SEBREN WENDELL PERRY
1100 WORTH DRIVE
BETHLEHEM, GA 30620

I further certify that I have on this day electronically filed the foregoing Trustee's Final Report using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program:


Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC




This the 19th day of July, 2022.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




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